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                         UNITED S TATES DIS TRICT COURT
                         SOUTHERN DIS TRICT OF FLORIDA

                                        CASE NO.

  RENZO BARBERI ,

               P laint iff,

               vs.

  SEB 1 LLC, a Florida Limited Liability
  Company d/b/a DRIVE ON AUTOS and
  5090 GROUP L.L.C., a Florida Limited
  Liability Company,

            Defendant s.
  _______________________________/

                                      COMPLAINT

  P laint iff, RENZO BARBE RI (hereinaft er “P la int iff”), t hrough t he undersigned
  counsel, hereby files t his co mplaint and sues SEB 1 LLC, d/b/a DRIVE ON AUTOS
  (“SEB”) and 5090 GROUP L.L.C. (“GROUP”) (hereinaft er, co llect ively referred t o
  as “Defendant s”) for declar at ory and injunct ive relief; for discr iminat io n based
  on disabilit y; and for t he result ant attorney's fees, expenses, and cost s
  ( including, but not limit ed t o, court cost s and expert fees), pur suant t o 42
  U.S.C. §12181 et . seq., ("AMERICANS WITH DIS ABILITIES ACT OF 1990, "
  or "ADA") and alleges:


  JURIS DICTION
  1.    This Court is vest ed wit h or iginal jur isdic t ion over t his act ion pursuant to
  28 U.S.C. §1331 and § 1343 for P laint iff’s claims ar is ing under T it le 42 U.S.C.
  §12181 et . seq., based on Defendant s’ violat ions of T it le III o f t he Amer icans
  wit h Disabilit ies Act of 1990, ( her einaft er referred t o as t he "ADA"). See also
  28 U.S.C. §2201 and §2202.


  VENUE

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  2.      The venue o f all event s giving r ise t o t his lawsuit is lo cat ed in Broward
  Count y, Flor ida. Pursuant t o 28 U.S.C. §1391(B) and rule 3.1 o f Local Rules o f
  t he Unit ed St at es Dist rict Court for t he Sout her n Dist r ict of Flor ida, t his is t he
  designat ed court for t his suit .


  PARTIES
  3.     P laint iff, RENZO BARBERI, is a resident of t he St at e of Flor ida. At t he
  t ime o f P laint iff’s vis it t o Drive On Autos (“Subject Facility”), P laint iff suffered fro m
  a “qualified disabilit y” under t he ADA, and required t he use of a wheelchair for
  mo bilit y. Specifically, P laint iff suffer s from paraplegia due to severed T4 and
  T5 and is t herefore confined t o his wheelchair. The P laint iff per sonally vis it ed
  Drive On Autos, but was denied full and equal access, and full and equa l
  enjo yment o f t he facilit ies, ser vices, goods, and a menit ies wit hin Drive On Autos,
  which is t he subject of t his lawsuit . T he S ubject Facilit y is a used car dealer and
  P laint iff want ed to look for vehic les for sale but was unable t o due to t he
  discr iminat or y barr ier s enumerat ed in Par agraph 15 o f t his Co mplaint .


  4.     In t he alt er nat ive, P laint iff, RENZO BARBE RI , is an advocat e of t he
  r ight s of similar ly sit uat ed disabled per sons and is a “t est er” for t he purpose of
  assert ing his civil r ight s and monit or ing, ensur ing and det er mining whet her
  places o f public acco mmodat ion are in co mpliance wit h t he ADA.


  5.     Defendant s, SEB and GROUP ar e aut hor ized to conduct business and are in
  fact conduct ing business wit hin t he St at e of Flor ida. The Subject Facilit y is
  lo cat ed at 5090 State Rd. 7, Davie FL 33134. Upon infor mat ion and belie f, SEB is t he
  lessee and/or operator of t he Real Property and t herefore held account able o f t he
  vio lat io ns of t he ADA in t he Subject Facilit y whic h is t he mat t er of t his suit .
  Upon infor mat io n and belief, GROUP is t he owner and lessor of t he Real
  Propert y where t he Subject Facilit y is locat ed and t herefore held account able for
  t he vio lat ions o f t he ADA in t he Subject Facilit y which is t he mat t er of t his suit .



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  CLAIMS: VIOLATIO NS OF TH E AMERICANS WITH DISAB ILITIES ACT
  6.     P laint iff adopt s and re -alleges t he alle gat ions st at ed in par agraphs 1
  t hrough 5 of t his co mpla int , as are furt her expla ined herein.


  7.     On July 26, 1990, Congress enact ed t he Amer ic ans w it h Disabilit ies Act
  ("ADA"), 42 U.S.C. §12101 et . seq. Co mmer cial ent erpr ises were provided one
  and a half year s fro m enact ment of t he st at ut e to implement it s requirement s.
  The effect ive dat e of T it le III of t he ADA was Januar y 26, 1992, or Januar y 26,
  1993 if Defendant s had t en (10) or fewer emplo yees and gross receipt s o f
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.     As st at ed in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
  amo ng ot her t hings, t hat :

         i. so me 43,000,000 Amer icans have one or more phys ical or ment a l
           disabilit y, and t his number shall increase as t he populat io n cont inues t o
           grow and age;

         ii. hist or ica lly, societ y has t ended t o isolat e and segregat e individuals
           wit h disabilit ies and, despit e so me improvement s, such for ms o f
           discr iminat io n against disabled individuals cont inue t o be a pervasive
           social pro blem, requir ing ser ious at t ent ion;

         iii. discr iminat io n against disabled individuals per sist s in such cr it ica l
           areas as emplo yment , housing, public acco mmodat io ns, t ransport at io n,
           co mmunicat ion, recreat io n, inst it ut ionalizat ion, healt h services, vot ing
           and access t o public ser vices and public facilit ies;

         iv.      individuals    wit h disabilit ies cont inually suffer               for ms o f
           discr iminat io n,    including:     out right    int ent io nal    exclusio n;    t he
           discr iminat or y     effect s   of     archit ect ural,      t ransport at io n,  and
           co mmunicat ion barr iers; failur e t o make modificat io ns t o exist ing
           facilit ies and pract ices; exclusio nar y qualificat ion st andards and
           cr it er ia; segregat io n, and regula t ion t o lesser ser vices, programs,
           benefit s, or ot her opport unit ies; and,

         v. t he cont inuing exist ence of unfair and unnecessar y discr iminat io n and
           prejudice denies people wit h disabilit ies t he opport unit y t o compet e on
           an equal basis and t o pursue t hose opport unit ies for which t his count r y


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               is just ifiably famous and cost s t he Unit ed St at es billio ns of do llar s in
               unnecessar y expenses result ing fro m dependency and non -product ivit y.

  9.       As st at ed in 42 U.S.C. §12101( b)(1)(2) and (4), Congress explic it ly st at ed
  t hat t he purpose o f t he ADA was t o:

           i. provide a clear and co mprehensive nat ional mandat e for t he eliminat io n
             of discr iminat io n against individuals wit h disabilit ies;

           ii. provide clear, st rong, consist ent , enforceable st andards addressing
             discr iminat io n against individuals wit h disabilit ies; and,

           iii. invoke t he sweep of cong ressio nal aut horit y, including t he power to
             enforce t he fourt eent h amendment and t o regulat e co mmerce, in order to
             address t he ma jor areas of discr iminat ion faced on a daily basis by
             people wit h disabilit ies.

  10.      Pursuant t o 42 U.S.C. §12181(7), and 28 CF R §36.104, T it le III, no
  individual ma y be discr iminat ed against on t he basis o f disabilit y wit h regards
  to    t he    full   and   equal     enjo yment      of t he   goods,   services,   facilit ies,   or
  acco mmo dat ions o f any pla ce of public acco mmodat ion by any per son who
  owns, leases (or leases t o), or operat es a p lace o f public acco mmo dat ion. Drive
  On Autos is a place o f public acco mmodat ion by t he fact it is an est ablishment
  t hat provides goods/ser vices t o t he gener al public, and t herefore, must co mply
  wit h t he ADA. T he Subject Facilit y is open t o t he public, it s operat ions affect
  co mmerce, and it is a sales est ablishment . See 42 U.S.C. Sec. 12181 (7) and 28
  C.F.R. 36.104. Ther efore, t he Subject Facilit y is a public acco mmo dat i on t hat
  must comply wit h t he ADA.


  11.      The Defendant s have discr iminat ed, and cont inue t o discr iminat e against
  t he P laint iff, and ot hers who are similar ly sit uat ed, by denying access t o, and
  full and equal enjo yment of goods, ser vices, facilit ies, pr ivileges, advant ages
  and/or acco mmodat ions at Drive On Autos locat ed at 5090 State Rd. 7, Davie FL 33134,
  as prohibit ed by 42 U.S.C. §12182, and 42 U.S.C. §12101 et . seq. ; and b y
  failing        to    remove        archit ect ural    barr ier s   pursuant    to    42     U.S.C.
  §12182( b)(2)( A)( iv).

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  12.    P laint iff has vis it ed t he Subject Facilit y, and has been denied fu ll, safe,
  and equal access t o t he facilit y and t herefore suffered an injur y in fact .


  13.    P laint iff shall suffer a fut ure injur y as P laint iff int ends t o ret urn and
  enjo y t he go ods and/or ser vices at t he Subject Facilit y wit hin t he next six
  mo nt hs. The Subject Facilit y is in clo se proximit y t o Plaint iff’s res idence and is
  in an area frequent ly t ravelled by P laint iff. Furt her more, P laint iff will a lso
  ret urn to monit or compliance w it h t he ADA. However, P laint iff is precluded
  fro m do ing so by t he Defendant s' failur e and refusal t o provide people wit h
  disabilit ies wit h full and equa l access to t heir facilit y. Therefore, P laint if f
  cont inues t o suffer fro m discr iminat io n and injur y due t o t he archit ect ural
  barr iers, which ar e in vio lat io n o f t he ADA.


  14.    Pursuant to t he mandat es o f 42 U.S.C. §12134(a), on July 26, 1991, t he
  Depart ment o f Just ice, Office o f t he Attorney General, pro mu lgat ed Federa l
  Regulat io ns to imple ment t he requiremen t s of t he ADA. The ADA Accessibilit y
  guidelines ( hereinaft er referred t o as “ADAAG”), 28 C. F.R. Part 36, ma y cause
  vio lat ors to obt ain civil penalt ies of up to $55,000 for t he fir st vio lat io n and
  $110,000 for any subsequent vio lat io n.


  15.    The Defendant s are in vio lat ion o f 42 U.S.C. §12181 et . seq., and 28

  C.F.R. 36.302 et . seq., and ar e discr iminat ing against t he P laint iff wit h t he

  fo llo wing specific vio lat ions which P laint iff perso nally encount ered and/or has

  knowledge of:

            a) The customer parking facility in front of the auto sales store does not provide a

                compliant accessible parking space. 2010 ADA Standards 502.1

            b) There is one (1) non-compliant accessible parking space located at the west side

                of building near entrance. 2010 ADA Standards 502.2



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           c) The parking facility does not have the minimum number of compliant accessible

              parking spaces required. 2010 ADA Standards 208.2

           d) The parking facility has four (4) marked standard spaces and one (1) non-

              compliant accessible parking space. One (1) compliant accessible parking space

              with adjacent access aisle is required. 2010 ADA Standards 208.2

           e) At time of inspection there was a car parked in the accessible parking space

              without a disabled parking permit. Designated accessible spaces must be designed

              and marked for the exclusive use of those individuals who have a severe physical

              disability and have permanent or temporary mobility problems that substantially

              impair their ability to ambulate and who have been issued either a disabled

              parking permit or license plate. 2010 ADA Standards 208.3.1, 502.3

           f) The accessible parking space sign is missing. Each accessible parking space must

              be posted with a permanent above-grade sign of a color and design approved by

              the Department of Transportation, which is placed on or at least 60 inches above

              the finished floor or ground surface measured to the bottom of the sign and which

              bears the international symbol of accessibility and the caption “PARKING BY

              ACCESSIBLE PERMIT ONLY” and must indicate the penalty for illegal use of

              the space. 2010 ADA Standards 502.6

           g) The accessible parking space identification striping is faded. 2010 ADA

              Standards 502.3.1

           h) The access aisle is not striped correctly. 2010 ADA Standards 502.3.1

           i) The accessible parking space identification striping is mismarked. Each such

              parking space must be striped in a manner that is consistent with the standards of



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              FDOT for other spaces and prominently outlined with blue paint, and must be

              repainted when necessary, to be clearly distinguishable as a parking space

              designated for persons who have disabilities. 2010 ADA Standards 502.6.1

           j) There are orange safety cones blocking the entrance to the non-compliant

              accessible parking space. The parking facility does not provide compliant

              directional and informational signage to a compliant accessible parking space.

              2010 ADA Standards 216.5

           k) There is no compliant access aisle attached to an accessible route serving any

              existing parking space which would allow safe entrance or exit of vehicle for

              accessible persons requiring mobility devices. 2010 ADA Standards 502.2

           l) There is currently no existing accessible route to help persons with disabilities

              safely maneuver through the parking facility as required in 2010 ADA Standards

              502.3

           m) Existing facility does not provide a compliant accessible route to the auto sales

              store main entrance from any site arrival point. 2010 ADA Standards 206.2, 208,

              401.1, 502

           n) The ground surface in front of the entrance door is sloped outside the required

              maneuvering clearances. Changes in level are not permitted. Such changes in

              level are prohibited in required clear floor and ground spaces, turning spaces, and

              in similar spaces where people using wheelchairs and other mobility devices must

              park their mobility aids such as in wheelchair spaces, or maneuver to use elements

              such as at doors, fixtures, and telephones. The exception permits slopes not

              steeper than 1:48. 2010 ADA Standards 404.2.4.4



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  16.    Upon infor mat ion and belief t here are ot her current vio lat io ns o f t he AD A
  at Drive On Autos. Only upon full inspect ion can all vio lat io ns be ident ified.
  According ly, a co mp let e list of vio lat io ns will requir e an on -sit e inspect ion by
  P laint iff’s r epresent at ives pursuant to Rule 34b of t he Federal Rules of C ivi l
  Procedure.


  17.    Upon infor mat io n and belief, P laint iff alleges t hat removal o f t he
  discr iminat or y barr iers and vio lat io ns is readily achievable and t echnicall y
  feasible. To dat e, t he readily achievable barr ier s and ot her vio lat io ns of t he
  ADA st ill exist and have not been remedied or alt ered in such a way as t o
  effect uat e compliance wit h t he provis io ns of t he ADA.


  18.    Pursuant to t he ADA, 42 U.S.C. §12101 et . seq., and 28 C.F.R. §36.304,
  t he Defendant s were required t o make t he est ablishment a place o f public
  acco mmo dat ion, accessible t o persons wit h disabilit ies by Januar y 28, 1992. As
  of t his dat e t he Defendant s have failed t o co mply wit h t his mandat e.


  19.    The P la int iff has been obligat ed t o ret ain t he under signed counsel for t he
  filing and prosecut io n o f t his act ion. P laint iff is ent it led t o have i t s reasonable
  att orney's fees, cost s and expenses paid by t he Defendant s, pursuant to 42
  U.S.C. §12205.


  20.    Pursuant to 42 U.S.C. §12188, t his Court is vest ed wit h t he aut hor it y t o
  grant P laint iff injunct ive relief, including an order to alt er t he subject facilit ie s
  to make t hem readily accessible and useable by individuals wit h disabilit ies t o
  t he ext ent required by t he ADA, and clo sing t he Subject Facilit y unt il t he
  requisit e modificat io ns ar e co mplet ed.


  REQUEST FOR RELIEF
  WHERE FORE, t he P la int iff deman ds judgment against t he Defendant s and
  request s t he fo llo wing injunct ive and declarat ory relief:

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  21. That t his Honorable Court declares t hat t he Subject Facilit y owned, operat ed
  and/o r cont rolled by t he Defendant s is in vio lat io n o f t he ADA;


  22.    That t his Honorable Court ent er an Order requir ing Defendant s t o alt er t he
  Subject Facilit y t o make it accessible to and usable by individuals wit h
  disabilit ies to t he full ext ent requir ed by T it le III of t he ADA;


  23.    That t his Honorable Court ent er an Or der dir ec t ing t he Defendant s t o
  evaluat e and neut ralize t heir po licies, pract ices and procedures toward persons
  wit h disabilit ies, for such reaso nable t ime so as t o allo w t he Defendant s t o
  undert ake and co mplet e correct ive procedures t o t he Subject Facilit y;


  24.    That t his Honorable Court award reasonable at torney's fees, all cost s
  ( including, but not limit ed t o court cost s and expert fees) and ot her expenses o f
  suit , to t he P laint iff; and


  25.    That t his Honorable Court award such ot her and furt her r elief as it dee ms
  necessar y, just and proper.



  Dat ed t his September 19, 2019.

  Respect fully submit t ed by:

  Ronald E. Stern
  Ronald E. St ern, Esq.
  Flor ida Bar No. 10089
  THE ADVOCACY LAW FIRM, P.A.
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  At t orney for P laint iff, RENZO BARBERI




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                          UNITED S TATES DIS TRICT COURT
                          SOUTHERN DIS TRICT OF FLORIDA

                                          CASE NO.

   RENZO BARBERI,

                P laint iff,

                vs.

   SEB 1 LLC, a Florida Limited Liability
   Company d/b/a DRIVE ON AUTOS and
   5090 GROUP L.L.C., a Florida Limited
   Liability Company,

             Defendant s.
   _______________________________/

                               CERTIFICATE OF S ERVICE

          I HEREBY CERTIFY t hat on September 19, 2019, I elect ronically filed t he
   Co mplaint alo ng wit h a Summo ns for ea ch Defendant wit h t he Clerk o f Court
   using CM/E CF. I also cert ify t hat t he aforement io ned document s are be ing
   ser ved on a ll counsel o f record, corporat ions, or pro se part ies ident ified o n t he
   att ached Ser vice List in t he manner specified via Ser vice of Pr ocess by an
   aut hor ized Process Ser ver, and t hat all fut ure pleadings, mot io ns and document s
   will be ser ved eit her via t ransmissio n o f Not ices of E lect ronic Filing generat ed
   by CM/ECF or Via U.S. Mail for t hose counsel or part ies who are not aut hor ized
   to receive elect ronically Not ices o f E lect ronic Filing.

   By: Ronald E. Stern
   Ronald E. St ern, Esq.
   Flor ida Bar No.: 10089
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   At t orney for P laint iff RENZO BARBERI




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                                     SERVICE LIS T:

   RENZO BARBERI, P laint iff, vs. SEB 1 LLC, a Florida Limited Liability Company d/b/a
      DRIVE ON AUTOS and 5090 GROUP L.L.C., a Florida Limited Liability Company

              Unit ed St at es Dist r ict Court Sout her n Dist r ict Of Flor ida

                                         CASE NO.


   SEB 1 LLC, d/b/a DRIVE ON AUTOS

   REGIS TERED AG ENT:

   ZEIG LAW FIRM, PLLC
   3475 SHERIDAN STREET
   SUITE 310
   HOLLYWOOD, FL 33021

   VIA PROCESS SERVER


   5090 GROUP L.L.C.

   REGIS TERED AG ENT:

   ROJKES, ERNESTO
   2555 NE 206 LANE
   MIAMI, FL 33180

   VIA PROCESS SERVER




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